   Case: 1:17-cv-04247 Document #: 44 Filed: 07/30/18 Page 1 of 21 PageID #:256




                     IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION
                                                 )
DRAGA CAIRONE,                                   )
       Plaintiff                                 )
                                                 ) No. 17 cv 4247
               v.                                )
                                                 ) Hon. Robert Dow, presiding
McHENRY COUNTY COLLEGE,                          ) Magistrate Judge Young B. Kim
TALIA KORONKIEWICZ, in her official              )
and individual capacity as Manager of Student )
Conduct and Campus Life,                         )
McHENRY COUNTY COLLEGE                           )
TONY MIKSA, in his official                      )
and individual capacity as Vice President        )
of McHENRY COUNTY COLLEGE,                       )
FLECIA THOMAS, in her official                   )
and individual capacity as Dean of Student       )
Affairs, McHENRY COUNTY COLLEGE                  )
JULETTA PATRICK, in her official                 )
and individual capacity as Title IX Coordinator, )
McHENRY COUNTY COLLEGE                           )
                                                 )
       .                                         )
       Defendants.                               )
                                                 )


                          RESPONSE TO MOTION TO DISMISS

       I.     INTRODUCTION

       Draga Cairone sued the Defendants for due process violations under 42 U.S.C § 1983,

violations of Americans with Disabilities Act (ADA), 42 U.S.C § 12132, breach of contract

under Illinois law, and retaliation. The Defendants have moved to dismiss her Second Amended

Complaint (Complaint or Comp.) for failure to state a claim under Fed. R Civ. P. 12(b)(6), as

time-barred (the ADA claims), and as to the individual Defendants, on grounds of qualified




                                                1
    Case: 1:17-cv-04247 Document #: 44 Filed: 07/30/18 Page 2 of 21 PageID #:257




immunity or for failure to assert “specific and individualized” allegations against them. Ms.

Cairone here responds to the Motion.

        This is not a complicated case. Ms. Cairone’s rights are clear and clearly established, and

Defendant’s violations are evident. They suspended her without notice (or in some cases

meaningful notice) or an opportunity to be heard, and barred her from campus, depriving her of

her contractually based rights to “peaceful pursuit of education and [] reasonable use of . . .

services and facilities” (Student Code of Conduct (Code), Art 1 (2014-15 ed.), depriving her of

procedural due process under the Fourteenth Amendment, and also breaching their contract with

her. Defendants punished her for sexual harassment, a kind of discrimination, after finding she

had not discriminated, and by finding she had committed plain a charge that did not exist except

as a form of discrimination, violating substantive due process. They discriminated throughout

against her on the basis of her disability, autism, in a cumulative and continuing manner that

became apparent as events evolved, in violation of the ADA. These were all also contract

violations. And they unlawfully retaliated against her for bringing this lawsuit by forbidding

MCC faculty and staff from providing her with letters of support in unrelated proceeding at the

University of Illinois.


        II.     STANDARD OF REVIEW

        On a motion to dismiss “the complaint [is construed] in the light most favorable to the

non-moving party and giving that party the benefit of reasonable inferences from those

allegations. Citadel Group Ltd. v. Washington Regional Medical Center, 692 F.3d 580, 591 (7th

Cir. 2012). “A complaint must contain only a ‘short and plain statement of the claim showing

that the pleader is entitled to relief.’ Fed. R. Civ. P. 8(a)(2).” Wigod v. Wells Fargo Bank, N.A.,

673 F.3d 547, 555 (7th Cir. 2012). A complaint must also contain allegations that "'state a claim



                                                  2
    Case: 1:17-cv-04247 Document #: 44 Filed: 07/30/18 Page 3 of 21 PageID #:258




to relief that is plausible on its face.'" Ashcroft v. Iqbal, 556 U.S. 662 (2009) "A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged." Id. The plaintiff must

"provid[e] some specific facts" to support the legal claims asserted in the complaint. Brooks, 578

F.3d at 581. "the plaintiff must give enough details about the subject-matter of the case to present

a story that holds together." Swanson v. Citibank, N.A., 614 F.3d 400, 404 (7th Cir. 2010).


       III.    ARGUMENT

               A. Ms. Cairone Sufficiently Pleads Due Process Violations.

                   1. Ms. Cairone had a Protected Property or Liberty Interest in Peaceful
                      Pursuit of Education and Reasonable Use of College Services and
                      Facilities based in the Code, as well as a Contractual Right to these
                      Things.

       To be entitled to due process, a plaintiff must have a liberty or property interest at stake.

Protectible interests “are not created by the Constitution. Rather, they are created and their

dimensions defined by an independent source such as state statutes or rules entitling the citizen

to certain benefits.” Goss v. Lopez, 419 U.S. 565, 572-73 (1975). A person claiming deprivation

of a protected interest “must have more than . . . have more than a unilateral expectation of it. He

must, instead, have a legitimate claim of entitlement to it." Bd. of Regents v. Roth, 408 U.S. 564,

577 (1972). “A ‘legitimate claim of entitlement’ is one that is legally enforceable—one based on

statutes or regulations containing ‘explicitly mandatory language’ that links ‘specified

substantive predicates’ to prescribed outcomes.” Miller v. Crystal Lake Park Dist., 47 F.3d 865,

867 (7th Cir. 1995) (quoting Kentucky Dep't of Corr. v. Thompson, 490 U.S. 454, 463, (1989)).

       In this case the property interests are created by contract, specifically the MCC Code

appended to the Complaint. The Defendants incorrectly assert that Ms. Cairone fails to point to




                                                  3
    Case: 1:17-cv-04247 Document #: 44 Filed: 07/30/18 Page 4 of 21 PageID #:259




specific language in the contract, but in her Complaint at 2, she states that Art. I of the Code

specifies consideration for performance: Students are “expected to behave appropriately. . . The

College, in turn, respects the[ir] properly exercised rights including the “peaceful pursuit of

education; and . . . the reasonable use of College services and facilities.” Id. (emphasis added).

This is an express and not an implied contract, contrary to what the Defendants claim (Mot. at 4).

Ms. Cairone has identified “the exact promises made to the student and the promises the student

made in return.” Osteen v. Henley, 13 F.3d 221, 225 (7th Cir. 1993). MCC violated those

interests by suspending her without meaningful notice and an opportunity to be heard,

interrupting her education, and banning her from campus during the suspension, interfering with

reasonable use of College services and facilities.

       The Defendants also aver that the Code (despite this contractual language) cannot be a

contract because it is a student disciplinary handbook. They cite, inappositely, a nonprecedental

District Court case where the Court found that a particular student disciplinary handbook at a

different institution did not make the promise in continued pursuit of education the plaintiff in

that case alleged. Mutter v. Madigan, 17 F. Supp. 3d 752, 759 (N.D. Ill. 2014) (Plaintiff failed to

point to “an identifiable contractual promise” by institution). The case does not stand for the

proposition that such a handbook cannot be a contract, which the Seventh Circuit, interpreting

Illinois law, has rejected. In Illinois, "a college or university and its students have a contractual

relationship, and the terms of the contract are generally set forth in the school's catalogs and

bulletins." Diperna v. Chi. Sch. of Prof'l Psychology, 893 F.3d 1001 (7th Cir. 2018) (quoting

Raethz v. Aurora Univ., 346 Ill. App. 3d 728 (Ill. App. Ct. 2d Dist 2004)). Alternatively the Code

may be treated, as state or (here) county law as Court does the handbooks in Osteen v. Henley,

13 F.3d 221, 225 (7th Cir. 1993). Either way, it creates the specified property interests. There




                                                   4
    Case: 1:17-cv-04247 Document #: 44 Filed: 07/30/18 Page 5 of 21 PageID #:260




may be no “stand alone property interest in an education at a [public] university,” Charleston v.

UIC, 741 F.3d 769, 772 (7th Cir. 2013), but Ms. Cairone claims no such thing. She had a

contractually based right to “peaceful pursuit of education” at MCC, as well as “the reasonable

use of College services and facilities.”

       The Defendants further claim, irrelevantly, that a mere violation of college-created

procedures does “not itself involve denial of federal constitutional due process, even if the state

law confers a procedural right.” Id. That is true, but Ms. Cairone does not claim any federal due

process violation based on procedural rights conferred by the Code. She claims that the lack of

notice and an opportunity to be heard, “the touchstones of [federal] procedural due process,”

Simer v. Rios, 661 F.2d 655, 667 (7th Cir. 1981), led to deprivation of her protected property and

liberty interests. She does assert state law breach of contract claims, clearly specified as such, on

the basis of breach of rights guaranteed her by the Code as a contract (Complaint, p. 3) or as

law, but that is a different matter. See Section III.C below.


                   2. Ms. Cairone had a Protected Liberty Interest in Pursuit of Some
                      Occupation of her Choice under Roth and Davis.

       In addition to her claims of procedural due process violations --notice and an opportunity

to be heard--leading to deprivations of specified property interests in peaceful pursuit of

education and the reasonable use of College services and facilities, Ms. Cairone claims a due

process violation of her liberty interests in pursuing “any occupation of her choice” (Complaint,

p. 3). The Defendants reply misleading by citing Sung Park v. Ind. Univ. Sch. of Dentistry, for




                                                  5
    Case: 1:17-cv-04247 Document #: 44 Filed: 07/30/18 Page 6 of 21 PageID #:261




the proposition that an “expelled dental student’s interest in pursuing career ‘is not one that the

due process cause protects,’” 692 F.3d 828, 832 (7th Cir. 2012) (emphasis added) (Mot. p. 4).1

        Lost in the elision between the italicized words is what that case actually says, that

“there is no fundamental right to follow any particular career.” Id. But Ms. Cairone does not

claim deprivation of a right or ability to pursue any particular career,” but “any occupation of

her choice (not any particular occupation)” (Complaint, p. 2, emphasis in original). And this is a

protected liberty interest.

        In Board of Regents v. Roth, 408 U.S. 564 (1972), the Supreme Court held that the state

may infringe a plaintiff's liberty interest when it makes a "charge against him that might

seriously damage his standing and associations in his community" that places his "good name,

reputation, honor, or integrity . . . at stake" or imposes on the plaintiff "a stigma or other

disability that foreclosed his freedom to take advantage of other employment opportunities." Id.

at 573. Here the charge of harassment and punishment for sexual harassment have these effects.

The Supreme Court has emphasized that, to implicate a liberty interest, such defamation must

involve the alteration of a legal status, such as the loss of an employment position, see Paul v.

Davis, 424 U.S. 693, 708-10 (1976). Here the change in legal status was being suspended and

barred from the MCC campus.


                    3. Punishing Ms. Cairone for “Harassment,” or Sexual “Harassment, when
                       she was not found to have Discriminated Against Anyone because of
                       Protected Group Membership Shocks the Conscience.




1
 Defendants cite to the District Court case , Doe v. Purdue Univ., 281 F. Supp. 3d 754, 768
(N.D. Ind. 2017), for the proposition that “individuals have no constitutionally protected right to
pursue a career, which is true only if that means a particular career.


                                                   6
    Case: 1:17-cv-04247 Document #: 44 Filed: 07/30/18 Page 7 of 21 PageID #:262




       MCC punished Ms. Cairone for something it found she had not done, that is, commit

sexual harassment or indeed, harassment at all according to its own definition. MCC did not find

that Ms. Cairone had not harassed or discriminated against anyone because of their sex or other

membership in a protected group (Comp. at 2). However, she was punished for free-floating

“harassment,” when the Code itself defined “discrimination or harassment” as conduct based on

the victim’s membership in a protected group (Art VI, Sec. C).2 In other words she was

punished for an offense that did not exist, was not defined, or she was not found to have

committed. In addition she was punished by being required to write an essay on sexual

harassment describing what she could personally do to illustrate the negative effects of such

harassment, and undergo a sexual harassment training (Comp. ¶ 23 at 10). The nature of the

sanctions make it clear that she was disciplined for something she was not found to have done.

       The Seventh Circuit states that "the nub of a substantive due process claim is that some

things the state just cannot do, no matter how much process it provides." Miller v. Henman, 804

F.2d 421, 427 (7th Cir. 1986). Rather than “guaranteeing an individual the right to a fair

decision-making procedure, . . . substantive due process prevents the state from taking certain

actions even if it provides procedural safeguards. It protects citizens against government conduct

that is arbitrary or without reasonable justification.” Tun v. Whitticker, 398 F.3d 899, 902 (7th

Cir. 2005).

       The Supreme Court has emphasized that "only the most egregious official conduct can

be said to be arbitrary in the constitutional sense." County of Sacramento v. Lewis, 523 U.S. 833,

846 (1998) (police officer did not violate substantive due process rights of passenger killed in


2
 “When I use a word,” Humpty Dumpty said, in rather a scornful tone, “it means just what I
choose it to mean—neither more nor less.” Lewis Carroll, Through the Looking Glass, in The
Annotated Alice (Martin Gardner, ed. 1970) (1871).


                                                 7
      Case: 1:17-cv-04247 Document #: 44 Filed: 07/30/18 Page 8 of 21 PageID #:263




high speed chase). To allege a violation of her substantive due process rights, plaintiff must

allege intentional (not merely negligent) conduct that "shocks the conscience" because it is

"'unjustifiable by any governmental interest.'" Remer v. Burlington Area School District, 286

F.3d 1007, 1013 (7th Cir. 2002); Lewis, 523 U.S. at 836.

         Federal courts, further, are not in the business of setting aside every erroneous decision

made by school administrators. Wood v. Strickland, 420 U.S. 308, 326 (1975) (upholding the

denial of relief for where plaintiffs were suspended for spiking the school punch with a

negligible amount of alcohol and stating that § 1983 was not the vehicle to relitigate “evidentiary

questions arising in school disciplinary proceedings or the proper construction of school

regulations”).3 See also Tun, 398 F.3d at 904, where the Seventh Circuit held that school

administrators “exercised questionable judgment” in expelling the plaintiff for turning up in nude

pictures, when he was, in the end, “just horsing around in the boys' locker room.” Expulsion, not

listed as possible punishment, was a regrettable overreaction by the defendants,” but not a due

process clause violation. The plaintiffs were, however, readmitted after an appeal.

         Ms. Cairone’s case is distinguishable. The decision in question was not merely erroneous

or even an abuse of discretion. To punish a student for an undefined offense when the Code itself

defines the term used (“harassment”) as a kind of discrimination that she was not found to have

committed is not merely completely unreasonable but totally arbitrary. Here it is not a question

of whether the administrators “overreacted,” whether the evidence could support their

conclusion, or how to construe the Code. Suspending Ms. Cairone for “harassment,” which the

Code defines as unwelcome conduct because of someone’s protected group membership, and

imposing sanctions for sexual harassment in particular, while finding she had not engaged in



3   Ms. Cairone here abandons Count III, ¶ 51, at 17.


                                                  8
    Case: 1:17-cv-04247 Document #: 44 Filed: 07/30/18 Page 9 of 21 PageID #:264




unwelcome conduct on any discriminatory basis, is not even a possible reading of the Code. In

Illinois and the Seventh Circuit, “[i]f the language of the contract unambiguously provides an

answer to the question at hand, the inquiry is over.” LaSalle Nat'l Bank v. Service Merchandise

Co., 827 F.2d 74, 78 (7th Cir. 1987). That is the case here. There is nothing to interpret. The

same rule applies if the Code is interpreted as state or county law. United States v. Ron Pair

Enters., 489 U.S. 235, 241 (1989) (stating “where, as here, the statute's language is plain, "the

sole function of the courts is to enforce it according to its terms.")

       Ms. Cairone was punished, officially, for an offense that did not exist under the contract,

and practically, for one that the school had not charged her with her with committing. There no

conceivable governmental interest for this behavior on the part of Defendants. And if it is

objected that no one died (insufficient in Lewis because the conduct was merely negligent), the

devastating effect on someone’s educational and career prospects of a sort of discipline that must

be announced at every application cannot be underestimated. Especially nowadays, such a

sanction can render one an unemployable pariah (Compl. ¶ 53, at 18). Wreaking such havoc on

someone’s life shocks the conscience. No amount of process could warrant this result in these

circumstances.

                 B. Ms. Cairone States a Claim for Disability Discrimination.

                    1. The Intentional Disability Discrimination Claim Stands Because Ms.
                       Cairone did NOT Concede the Validity of MCC’s Charges.

       Ms. Cairone sues under Title II of the Americans with Disabilities Act, 42 U.S.C. §

12132 (public entities). A plaintiff may establish a claim for ADA discrimination in two ways:

disparate treatment (intentional discrimination) or failure to accommodate. See Basith v. Cook

Cnty., 241 F.3d 919, 926-27 (7th Cir. 2001). A plaintiff may also pursue a claim for retaliation

under the ADA. 42 U.S.C. § 12203(a). To make out a claim under Title II, “a plaintiff must



                                                   9
   Case: 1:17-cv-04247 Document #: 44 Filed: 07/30/18 Page 10 of 21 PageID #:265




allege facts suggesting that [1] [s]he is a qualified individual with a disability and [2] was

excluded from benefits or services of a public entity or discriminated against by such entity [3]

because of [her] disability.” Jackson v. City of Chicago, 414 F.3d 806, 810 (7th Cir. 2005) (citing

42 U.S.C. § 12132). The Defendants do not dispute that Ms. Cairone is a qualified individual

with a disability (autism) or that she was excluded from benefits or services of, MCC, a public

entity or discriminated against by MCC. Their sole contention is that she admits the exclusion or

discrimination was not because of her disability but because, the Defendants say, she admitted to

having violated the Code by “engaging in a sexually provocative ‘boobie dance’ without consent,

laying on top of them or cuddling others without their consent and asking others to see pictures

of Ms. Cairone in bondage.” (Mot. at 7, purportedly citing Comp. ¶ 20 at 9)

       This is an astonishingly bold and perverse misreading. The Complaint says exactly the

opposite. Ms. Cairone states that the Defendants determined that she had violated the Code

“because she had supposedly admitted” to engaging in the stated behavior (Comp. ¶ 2 at 9

emphasis added). In ¶ 21, Ms. Cairone continues: “Both the allegations contained in the

[Defendants’ Sanctions] Letter and statement that Ms. Cairone admitted to any wrongdoing or

the specific alleged acts are false.” She goes on to deny having done each of the listed acts

individually. Id. If she had admitted to these things, or any of them, there would be no case filed.

But she most emphatically and unambiguously did not. The Complaint does not state, admit, or

imply that the Defendants had a legitimate, nondiscriminatory reason to discipline her. She flatly

denied that they did. Their “legitimate nondiscriminatory reason was pretextual. The Defendant’s

actions were acts of intentional discrimination, not legitimate discipline.


                   2. Ms. Cairone States a Failure to Accommodate Claim under Title II
                      Because MCC Failed to Engage in the Interactive Process, Resulting in
                      Accommodation not Being Provided in a Crucial Instance.



                                                 10
   Case: 1:17-cv-04247 Document #: 44 Filed: 07/30/18 Page 11 of 21 PageID #:266




       Ms. Cairone sought reasonable accommodation from the Defendants, seeking to be

interviewed by a someone with a knowledge of autism after the initial meeting (Compl. ¶ 19 at 9)

and refusing to allow counsel to participate her appeal (Compl. ¶ 24 at 10). The second

accommodation was satisfied by allowing a faculty advisor to participate instead of counsel. Id.

Refusal to address the first stands. Defendants object that Ms., Cairone failed to request an ADA

accommodation (Mot. at 9), but: of course a request to be interviewed by someone

knowledgeable in one’s disability is a request for ADA accommodation. What else could it be?

See EEOC v. Sears, Roebuck & Co., 417 F.3d 789, 804 (7th Cir. 2005) (It “is sufficient to notify

the employer that the employee may have a disability that requires accommodation” to trigger

the duty to reasonably accommodate), and the Defendants were on notice before and were

further put on notice by the request.

       Defendants also argue, with superficially more plausibility, that Ms. Cairone has not

shown that her requested accommodations were reasonable or necessary. See Wis. Cmty. Servs.

v. City of Milwaukee, 465 F.3d 737, 752 (7th Cir. 2006) (it must be shown that the requested

accommodation is "both efficacious and proportional to the costs to implement it.")(FHAA

context). The requested accommodation was clearly necessary, since the initial decisionmaker,

Defendant Koronkiewicz, knew nothing about autism, telling Ms. Cairone that she “need[ed] to

learn to read body language. Everyone else can, so can you” (Compl. ¶ 18, at 9), which is like

telling a blind person she needs to learn to see because everyone else can. And at an institute of

higher education how difficult or costly would it have been to find, or if necessary, engage,

someone informed about autism? With proper information and good will these entire

proceedings could have avoided.




                                                11
   Case: 1:17-cv-04247 Document #: 44 Filed: 07/30/18 Page 12 of 21 PageID #:267




        Defendants, moreover, ignore the requirement of an “interactive process” between the

parties “in order to determine the appropriate accommodation for a qualified individual with a

disability,” which involves “identifying the precise limitations resulting from the disability and

potential reasonable accommodations that could overcome those limitations.” 29 C.F.R. §

1630.2(o)(3); Jackson, 414 F.3d at 813. The interactive process requires the [party required to

reasonably accommodate] "to meet the [qualified person with a disability] half-way" Bultemeyer

v. Fort Wayne Community Schools, 100 F.3d 1281, 1285 (7th Cir.1996).

        Here there was no interactive process because Defendants refused to participate, although

the burden of "exploring" reasonable accommodation lies with party intended to be offering

accommodation. Hansen v. Henderson, 233 F.3d 521, 523 (7th Cir. 2000). As a result there was

no accommodation provided. In Rehling v. City of Chicago, the Seventh Circuit noted that while

failure to engage in the interaction process is itself insufficient for liability, liability can be based

“on [a party’s] failure to engage in an interactive process in circumstances where the plaintiff

alleged that the result of that breakdown was the [party’s] failure to provide a reasonable

accommodation. 207 F.3d 1009, 1016 (7th Cir. 2000). That is precisely what Ms. Cairone alleges

here. With the burden on them to explore what accommodation was reasonable, to meet Ms.

Cairone halfway, Defendants failed to engage in the required interactive process, with the result

that no accommodation was provided. She has stated a claim.


                    3. Ms. Cairone’s Disability Discrimination Claims are Timely in themselves
                       or as Part of a Continuing Violation, or the Time-Barred Ones are
                       Evidence of Discriminatory Intent.

        Defendants argue that conduct outside the two years limitation period, prior to June 3.,

2015, is barred as untimely, because she was deemed to have filed timely for June 3, 2017

(Order, April 3, 2018), including Defendant Koronkiewicz’s statement on May 13, 2015 that



                                                   12
   Case: 1:17-cv-04247 Document #: 44 Filed: 07/30/18 Page 13 of 21 PageID #:268




Ms. Cairone “need[ed] to learn to read body language. Everyone else can, so can you” (Compl.

¶ 18, at 9) and her refusal on that date and on May 15 to allow Ms. Cairone to be interviewed by

someone with knowledge of autism (Compl. ¶ 19 at 9). That still leaves the core discriminatory

conduct, including the imposition of sanctions on June 3, 2016, and the determination that Ms.

Cairone had supposedly violated the Code (Compl. ¶ 20 at 9), the Student Appeals Board’s Aug.

20, 2015, Decision upholding the Sanctions, and Defendant Miksa’s final determination on Sept.

11, 2015, affirming them. It would also include the refusal to accommodate by having Ms.

Cairone interviewed by a someone knowledgeable about autism and failing to engage in the

interactive process, leading to a failure to reasonably accommodate. That is a continuing duty for

a process that takes time, so refusal to do it extends at least through the next few weeks to inside

the limitations period.

       But even if not, as the Seventh Circuit has held, "it is well settled that evidence of earlier

discriminatory conduct by an employer that is time-barred is nevertheless entirely appropriate

evidence to help prove a timely claim based on subsequent discriminatory conduct by the

employer." Mathewson v. Nat’l Automatic Tool Co., Inc., 807 F.2d 87, 91 (7th Cir. 1986). The

appalling remark and the failure to accommodate, show manifest animus against autism.

       The earlier conduct is also brought inside the limitations period as a continuing violation.

A continuing violation is a claim based on an ongoing policy. See Nat'l R.R. Passenger Corp. v.

Morgan, 536 U.S. 101, 115-18 (2002). In Morgan the entire series of acts constituting, in that

case, a hostile work environment, was a single unlawful practice, so it would be time to file

within a limitations period from when any of the acts involved. This brings under the period the

failure to reasonably accommodate by having Ms. Cairone interviewed by someone informed

about autism or some equivalent accommodation because of the ongoing refusal to part of the




                                                 13
   Case: 1:17-cv-04247 Document #: 44 Filed: 07/30/18 Page 14 of 21 PageID #:269




interactive process. Alternatively, of the acts in May and June (and following) are a series of

separate violations, they should be treated as a “continuing violation. . . [if] it would have been

unreasonable to require the plaintiff to sue separately on each one.” Selan v. Kiley, 969 F.2d 560,

565-66 (7th Cir. 1992). “Ordinarily this will be because the plaintiff had no reason to believe he

was a victim of discrimination until a series of adverse actions established a visible pattern of

discriminatory treatment.” Id. The Seventh Circuit “has applied the continuing violation doctrine

when the plaintiff could not reasonably be expected to perceive the alleged violation before the

limitations period has run, or when the violation only becomes apparent in light of later events.”

Savory v. Lyons, 469 F.3d 667, 672 (7th Cir. 2006). One or the other or both of these apply here

to the May events.

       Here there was no manifest adverse action until Defendants suspended Ms. Cairone and

imposed other sanctions on her on June 3, 2015, the start of the limitations period. Before then,

though Defendant Koronkiewicz’s ignorant remark was shocking rude, it only became an

obvious part of a pattern of discrimination when she and Defendants Patrick and Thomas acted

on it at the beginning of the limitations period (Comp. ¶ 46 at 16). Similarly, the refusal to

reasonably accommodate or engage in the interactive process was not obviously illegally

discriminatory before it had consequences. Before that Ms. Cairone either could not have sued or

have been reasonably expected to. Her Disability Discrimination claims are not time-barred.

               C. Ms. Cairone has Alleged Specific Contractual Commitments Breached by the
                  Defendants.

       The Defendants assert otherwise, calling Ms. Cairone’s reference to contractual rights to

the “peaceful pursuit of education; and . . . the reasonable use of College services and facilities”

merely “cursory.” (Mot. at 11-12). They say she cites no other language, but in fact they

themselves refer to other language she cites, for example, the contractual procedural rights Ms.



                                                 14
   Case: 1:17-cv-04247 Document #: 44 Filed: 07/30/18 Page 15 of 21 PageID #:270




Cairone alleges she was denied (Mot. at 5), which they there criticize, irrelevantly, as not

providing a basis for a procedural due process claim. These are offered to support a contract

violation claim, and the treatment of the rights Defendants dismiss as “cursory references” are

extensively discussed in the Complaint and this Response. See above, Sec. III.A.1. Their

objection is conclusory, unsupported, and factually inaccurate.

                D. Ms. Cairone has Valid Retaliation Claims Against the Defendants.

        The Defendants retaliated against Ms. Cairone for filing this lawsuit by issuing an ukase

in the form of an emailed memorandum sent to MCC faculty and staff prohibiting them from

writing in support of Ms. Carione when she was faced with charges at the University of Illinois

Champaign-Urbana (UICU) in October 2017. These are “sufficient facts” Defendants assert

Ms. Cairone has not set forth. She need not provide the actual email on a Response to a Motion

to Dismiss, and as they know, cannot do so without converting it to a summary judgment motion.

Fed. R. Civ. P. 12(d).

        Retaliation is actionable under Section 1983. "An act taken in retaliation for the exercise

of a constitutionally protected right is actionable under § 1983 even if the act, when taken for a

different reason, would have been proper. This includes retaliation against [a person] for

exercising h[er] constitutional right to access the courts.” Lekas v. Briley, 405 F.3d 602, 614 (7th

Cir. 2005) (prisoner’s rights context). Retaliation is also forbidden under the ADA. To establish

a prima facie case of ADA retaliation, Ms. Cairone must show evidence of: “(1) a statutorily

protected activity; (2) an adverse action; and (3) a causal connection between the two.” Mobley

v. Allstate Ins. Co., 531 F.3d 539, 549 (7th Cir. 2008) (ADA Title I context), 42 U.S.C. §

12203(a) (anti-retaliation provision). That disposes of Defendants’ complaint not to have

identified a legal basis for this claim.




                                                 15
   Case: 1:17-cv-04247 Document #: 44 Filed: 07/30/18 Page 16 of 21 PageID #:271




         Defendants contend, mysteriously, that Ms. Cairone “cites no facts” indicating that

MCC’s “directive” would constitute adverse action or is linked to her lawsuit, fielded in June

2017. She is uncertain how to explain to Defendants if they do not understand how being denied

support and recommendations while undergoing university disciplinary proceedings is adverse

action. Is it necessary to say that one seeks such reference to increase one’s chance of prevailing

in such proceedings or mitigating their consequences, so being denies them, is likely to be

harmful?

         Defendants’ causation objection is better but still inadequate. How could it be retaliation

for filing a lawsuit to engage in adverse action five months after the lawsuit filed? “Speculation

based on suspicious timing alone . . . does not support a reasonable inference of retaliation."

Sauzek v. Exxon Coal USA, Inc., 202 F.3d 913, 918 (7th Cir. 2000), outside cases where

protected activity and adverse action are very close in time. Mobley v. Allstate Ins. Co., 531 F.3d

539, 549 (7th Cir. 2008). Apart from such cases, “plaintiff also must put forth other evidence

that reasonably suggests that her protected [] activities were related to her [the covered party’s]

discrimination or other adverse action.” Burks v. Wis. DOT, 464 F.3d 744, 758-59 (7th Cir.

2006).

         But to show that protected activity was a “substantial or motivating factor behind the

adverse action,” Cloe v. City of Indianapolis, 712 F.3d 1171, 1180 (7th Cir. 2013) (ADA Title I

context), Ms. Cairone has more than “suspicious timing.” She contends that such an inference

might be rationally drawn, from “a convincing mosaic of circumstantial evidence that would

support the inference [of] retaliatory animus.” Id. The types of circumstantial evidence that are

frequently used include “suspicious timing, ambiguous statements oral or written, and other bits

and pieces from which an inference of retaliatory intent might be drawn,” as well as “evidence




                                                  16
   Case: 1:17-cv-04247 Document #: 44 Filed: 07/30/18 Page 17 of 21 PageID #:272




that the employer offered a pretextual reason for an adverse employment action.” Id. The links

need not be tight. Ms. Cairone need only “establish that the protected activity and the adverse

action were not wholly unrelated.” Holland v. Jefferson Nat'l Life Ins. Co., 883 F.2d 1307, 1315

n.4 (7th Cir. 1989).

         Here, retaliatory intent is the only inference that can be drawn. It is certainly a fair one.

MCC issued its diktat at the first possible moment it could have taken any adverse action, shortly

after UICU initiated its proceedings, and precisely when Ms. Cairone needed support from her

former teachers and MCC staff. There is no imaginable explanation for this other than retaliation

for the lawsuit, no conceivable legitimate purpose it might serve, no purpose at all except to hurt

Ms. Cairone, and no reason to do except that she had sued them. In addition, the suit alleged a

pretextual reason for the adverse action taken against her at MCC, alleged violation of the Code

to justify violation of her civil rights and rights to nondiscrimination. One would not expect to

find a smoking memo where MCC said, “Let’s get back at her,” but what they did is almost as

damning. This is “a convincing mosaic of circumstantial evidence that would support the

inference [of] retaliatory animus.” Ms. Cairone therefore states a claim for ADA and civil rights

retaliation.


                E. The Named Individual Defendants Do Not Have Qualified Immunity because
                   they were all Involved in Violations of Clearly Established Federal
                   Constitutional Law.

        There can be no qualified immunity defense for the due process violations in this case.

“Qualified immunity shields government officials performing discretionary functions from

liability for civil damages.” Gorman v. Robinson, 977 F.2d 350 353 (7th Cir. Ill. 1992). The

Supreme Court has said that qualified immunity protects "all but the plainly incompetent or those

who knowingly violate the law.” Whether an official protected by qualified immunity may be



                                                   17
   Case: 1:17-cv-04247 Document #: 44 Filed: 07/30/18 Page 18 of 21 PageID #:273




held personally liable for an allegedly unlawful official action generally turns on the "objective

legal reasonableness" of the action. Harlow v. Fitzgerald, 457 U.S. 800, 818, 819 (1982)

at 819, assessed in light of the legal rules that were "clearly established" at the time it was taken,

id. at 818. “This means that he contours of the right must be sufficiently clear that a reasonable

official would understand that what he is doing violates that right. This is not to say that an

official action is protected by qualified immunity unless the very action in question has

previously been held unlawful; but it is to say that in the light of pre-existing law the

unlawfulness must be apparent.” Anderson v. Creighton, 483 U.S. 635, 640, (1987) (citing

Mitchell v. Forsyth, 472 U.S. 511, 535 n.12 (1985)).

       Defendants contend that Ms. Cairone’s due process claim fails because there is no clearly

established right to continued education at a public community college or to pursue a particular

career. (Mot. at 13). The first objection addresses, or misses, here procedural due process claim.

That claim requires a clear interest rooted in state law, which of course the Code provides ( see

Art I, guaranteeing peaceful pursuit of education and [] reasonable use of . . . services and

facilities”). But such an interest is only a condition of federal procedural due process, the right to

(meaningful) notice and to be heard. It is this procedural due process right, not her state contract

or county law right to pursue her continued education that Ms. Cairone here charges the

individual defendants with violating. And that right is as clear as the noonday sun.

       Between the initial meeting on May 13, 2015 and the imposition of sanctions on June 3,

2015, Koronkiewicz gave Ms. Cairone no notice that she was facing charges of Code violations

and she had no opportunity to respond before they were imposed. No reasonable official would

think that was lawful. Ms. Cairone had the right to appeal afterward, but that is back to Alice, an

instance of “sentence first, verdict afterward!” as the White Queen memorably puts it, Alice’s




                                                  18
   Case: 1:17-cv-04247 Document #: 44 Filed: 07/30/18 Page 19 of 21 PageID #:274




Adventures in Wonderland, in The Annotated Alice (Martin Gardner, ed. 1970) (1865). It is the

model of a procedural due process denial. Moreover, Ms. Cairone’s right to be heard was

hobbled by her being barred from campus during the appeals process so she could not interview

people or could do so only with great difficulty (Comp. ¶ 25 at 10), and she was provided with

the bulky evidence packet only two days before the appeals hearing (Id. at 11). That was not

what a reasonable official would think was reasonable notice or a reasonable opportunity to be

heard. The Student Appeals Board was therefore a kangaroo court. But it was Ms. Cairone’s

federal procedural due process rights, not her state contract or county law right to pursue her

continued education that was abridged by the conduct in a way actionable under Sec. 1983

       Ms. Cairone never claimed a right to pursue a particular career, as explained in Sec.

III.A.3. She claimed a right to pursue some career or other protected under Board of Regents v.

Roth, 408 U.S. 564 (1972), and Paul v. Davis, 424 U.S. 693 (1976), contending that defamatory

charges made against her “might seriously damage h[er] standing and associations in his

community” and compromises “h[er] good name, reputation, honor, or integrity,” or imposes on

the plaintiff "a stigma or other disability that foreclosed h[er] freedom to take advantage of other

employment opportunities." Roth, 408 U.S at 573. The charge of harassment and punishment for

sexual harassment risk making here unemployable and a social pariah, especially in the era of

#Metoo. It is obvious that no reasonable official would hand a scarlet “H” around someone’s

neck without due process, much less on the basis of charges that did not exist in the Code--

“harassment” cut loose from the Code’s definition as discrimination because of protected status.

Defendants do not object to this substantive due process claim.

       Finally, Defendants erroneously state that Ms. Cairone fail to allege that Defendants

Thomas, Patrick, or Micksa were directly involved in the violations. “An individual cannot be




                                                 19
   Case: 1:17-cv-04247 Document #: 44 Filed: 07/30/18 Page 20 of 21 PageID #:275




held liable in a § 1983 action unless he caused or participated in an alleged constitutional

deprivation.” See Kuhn v. Goodlow, 678 F.3d 552, 556 (7th Cir. 2012). She so alleges with

respect to each of these persons. Koronkiewicz’s Sanctions Letter of June 3, 2015 states that the

sanctions were imposed pursuant to a decision of the MCC “disciplinary body,” including

Thomas and Patrick (¶ 20 at 9, ¶ 31 at 12). This is the core action that Ms. Cairone says violated

her due process and ADA rights. And Koronkiewicz admits that Thomas and Patrick were

involved in making that decision. Miksa, as the Vice President in charge of student discipline,

made the final determination upholding the decisions and sanctions in his letter of Sept. 11, 2015

(¶¶ 32-34 at 12-13). These are not claims of vicarious liability because of supervisory

relationships, but allegations based on direct admissions of personal responsibility.

       It is difficult to grasp the Defendants’ final claim, that the official capacity claims against

the named individuals should be dismissed because “the real party in interest” is MCC, of which

the individuals were at the relevant times employees (Mot. at 14-15). On this reasoning no one

could ever bring an official capacity suit against officials who are the employees or agents of a

state actor which is “the real party in interest.” That is a reductio ad absurdum, a reduction to the

absurd—unless defendants are seriously proposing a revolution in the structure of civil rights

law.


       IV.       CONCLUSION

       For the stated reasons, Defendants’ Motion to Dismiss should be denied.


 July 30, 2018    ss/_Justin Schwartz
                  Justin Schwartz
                  Counsel for Draga Cairone, Plaintiff
                  ARDC No. 6257328
                  1723 W. Devon Ave #607882
                  Chicago, IL 60660


                                                 20
   Case: 1:17-cv-04247 Document #: 44 Filed: 07/30/18 Page 21 of 21 PageID #:276




                847-687-5477
                justinschwartzlaw@gmail.com




                    NOTICE OF FILING AND PROOF OF SERVICE

To:

Emily Bothfeld
Frank Garrett
55 West Monroe, Suite 800
Chicago, IL 60603-5144
ph: 312.332.7760
fax:312.332.7768

I, Justin Schwartz, an attorney, state that I caused the attached AMENDED COMPLAINT to be

filed using the CM/ECF system and served on counsel for Defendants using the CM/ECF system.

All participants in the case are registered CM/ECF users who will be served by the CM/ECF

system.

ss/_Justin Schwartz                                             July 30, 2018
Justin Schwartz




                                             21
